 Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                    Page 1 of 16
Exhibit A
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 2 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 3 of 16
øÐ¿¹» ï   ±º   ïí÷
          Case 21-13338 Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                     Exhibit B             Page 4 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 5 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 6 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 7 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 8 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 9 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 10 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 11 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 12 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 13 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 14 of 16
Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                   Page 15 of 16
øÐ¿¹» ïí   ±º   ïí÷
       Case 21-13338   Doc 30-1   Filed 04/15/22 Entered 04/15/22 13:47:48   Desc Exhibit
                                          Page 16 of 16
